             Case MDL No. 2967 Document 50 Filed 12/15/20 Page 1 of 3




                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: CLEARVIEW AI, INC.,                                                             MDL No. 2967
CONSUMER PRIVACY LITIGATION



                                       TRANSFER ORDER


          Before the Panel:* Defendants Clearview AI, Inc. (“Clearview”), Hoan Ton-That, and
Richard Schwartz (together, the Clearview defendants) move under 28 U.S.C. § 1407 to centralize
this litigation in the Southern District of New York. This litigation currently consists of nine actions
listed on the attached Schedule A, six in the Southern District of New York and three in the Northern
District of Illinois.1 The Panel also has been notified of one potentially-related action in the
Northern District of Illinois.2 Plaintiffs in five Southern District of New York actions support the
motion. Plaintiffs in the remaining actions and potential tag-along action suggest centralization in
the Northern District of Illinois. Macy’s Retail Holdings, Inc. (Macy’s), the sole defendant in the
Northern District of Illinois Carmean potential tag-along action, opposes inclusion of Carmean in
centralized proceedings. In reply, the Clearview defendants agree that Carmean should not be
included in the MDL.

         On the basis of the papers filed and hearing session held,3 we find that the actions listed on
Schedule A involve common questions of fact, and that centralization in the Northern District of
Illinois will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. These actions share factual questions arising from allegations that the
Clearview defendants improperly collected, captured, obtained, distributed, and profited off of
citizens’ biometric data. Centralization will eliminate duplicative discovery; prevent inconsistent
pretrial rulings, including with respect to class certification; and conserve the resources of the


        *
                One or more Panel members who could be members of the putative classes in this
litigation have renounced their participation in these classes and have participated in this decision.
        1
               A tenth action was included in the motion, but the Northern District of Illinois
granted plaintiffs’ motion for remand to state court. Clearview filed an appeal, which remains
pending.
        2
                This and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
        3
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by videoconference at its hearing session of December 3, 2020. See Suppl.
Notice of Hearing Session, MDL No. 2967 (J.P.M.L. Nov. 16, 2020), ECF No. 47.
             Case MDL No. 2967 Document 50 Filed 12/15/20 Page 2 of 3




                                                 -2-

parties, their counsel, and the judiciary.

         We select the Northern District of Illinois as transferee district.4 Three actions are pending
in this district, and have been proceeding in an organized fashion. The court has consolidated the
actions and appointed interim class counsel. Centralization in this district also provides us the
opportunity to assign the litigation to a capable jurist who has not yet presided over an MDL.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Illinois are transferred to the Northern District of Illinois, and, with the
consent of that court, assigned to the Honorable Sharon Johnson Coleman for coordinated or
consolidated pretrial proceedings.




                                        PANEL ON MULTIDISTRICT LITIGATION




                                                       Karen K. Caldwell
                                                             Chair

                                       Catherine D. Perry              Nathaniel M. Gorton
                                       Matthew F. Kennelly             David C. Norton
                                       Roger T. Benitez                Dale A. Kimball




       4
                 Because the Carmean potential tag-along action already is pending in the Northern
District of Illinois, we need not determine whether its inclusion in the MDL is appropriate. Rather,
requests for assignment of this potential tag-along action to the Section 1407 transferee judge should
be made in accordance with local rules for the assignment of related actions. See Panel Rule 7.2(a).
        Case MDL No. 2967 Document 50 Filed 12/15/20 Page 3 of 3




IN RE: CLEARVIEW AI, INC.,                                       MDL No. 2967
CONSUMER PRIVACY LITIGATION



                                     SCHEDULE A

          Northern District of Illinois

    MUTNICK v. CLEARVIEW AI, INC., ET AL., C.A. No. 1:20-00512
    HALL v. CDW GOVERNMENT LLC, ET AL., C.A. No. 1:20-00846
    MARRON, ET AL. v. CLEARVIEW AI, INC., ET AL., C.A. No. 1:20-02989

          Southern District of New York

    CALDERON, ET AL. v. CLEARVIEW AI, INC., ET AL., C.A. No. 1:20-01296
    BROCCOLINO v. CLEARVIEW AI, INC., C.A. No. 1:20-02222
    MCPHERSON v. CLEARVIEW AI, INC., ET AL., C.A. No. 1:20-03053
    BURKE, ET AL. v. CLEARVIEW AI, INC., ET AL., C.A. No. 1:20-03104
    JOHN, ET AL. v. CLEARVIEW AI, INC., C.A. No. 1:20-03481
    ROBERSON v. CLEARVIEW AI, INC., C.A. No. 1:20-03705
